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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Joseph Collora
                                Plaintiff,
v.                                                Case No.: 1:22−cv−01904
                                                  Honorable Franklin U. Valderrama
McDonald's Corporation
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 23, 2022:


        MINUTE entry before the Honorable Franklin U. Valderrama: For the reasons
stated in the motion, the parties' agreed motion for consolidation of cases, briefing
schedule, and initial status report [16] is granted. This case is consolidated with related
case, McDowell v. McDonald's Corp., 22−cv−1688 under case number 22−cv−1688. In
view of the consolidation, this case is closed. Civil case terminated. Mailed notice (axc).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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